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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                v.                           :       Case No. 1:24-cr-114 (RDM)
                                             :
KEVIN MICHAEL ALSTRUP,                       :
                                             :
                         Defendant.          :


                                   JOINT STATUS REPORT

        Pursuant to this Court’s Minute Entry of May 13, 2024, which directed the parties to file a

Joint Status Report on or before July 17, 2024, the United States of America, by and through its

attorney, the United States Attorney for the District of Columbia, and the defendant, KEVIN

ALSTRUP, by and through his attorney, submits the following as an update and report on the

status of this matter.

            1. On April 2, 2024, the government produced to the defense the 33rd volume of

                Global Discovery specific to the government’s ongoing investigation of the January

                6th assault on the U.S. Capitol. This production brought the government’s total

                production in global discovery to 8.14 million files, which amounts to over 10.55

                terabytes of information.

            2. On April 17, 2024, the government produced to the defense its first round of case-

                specific discovery. This production included approximately 300 distinct items of

                case-specific discovery, including photographic and video evidence, as well as FBI

                investigative materials.

            3. On May 31, 2024, the government produced to the defense the 34th volume of

                Global Discovery specific to the government’s ongoing investigation of the January

                6th assault on the U.S. Capitol. This production brought the government’s total
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    production in global discovery to 8.15 million files, which amounts to nearly 11.4

    terabytes of information.

 4. On June 27, 2024, the government produced to the defense its second round of case-

    specific discovery. This production included approximately 200 distinct items of

    case-specific discovery, including photographic and video evidence, as well as FBI

    investigative materials. This production brought the government’s total production

    in case-specific discovery to approximately 500 distinct items of case-specific

    discovery.

 5. The government has completed the extraction and review of material from the

    devices seized from the defendant at the time of his arrest, and has produced all

    relevant discovery from those devices to the defendant. The government will

    shortly produce to the defendant a copy of the recording of his custodial interview.

    At that point, the government does not anticipate producing any additional

    discovery in this matter.

 6. Based on the current posture of this matter, the parties request an additional 60 days

    to complete the discovery process and begin efforts to resolve this matter. This

    additional time will allow the government to produce relevant discovery and will

    allow the defendant time to review both global and case-specific discovery.

    Additional time will also facilitate the parties’ efforts to resolve this matter. Thus,

    the parties respectfully propose filing an updated Joint Status Report with the Court

    on or before September 17, 2024.

 7. The parties also respectfully request that, as discovery is ongoing, the Court

    continue to exclude the time within which a trial must commence under the Speedy
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       Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by

       taking such actions outweigh the best interest of the public and the defendant in a

       speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i),

       (ii), and (iv).



Respectfully submitted,


MATTHEW M. GRAVES                                   /s/ Maria N. Jacob
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